Case 2:21-mc-00374-CAS-MAA Document 19 Filed 08/09/21 Page 1 of 7 Page ID #:490



   1    Eric J. Klein (pro hac vice)
          eklein@velaw.com
   2    Jeffrey R. Swigart (pro hac vice)
          jswigart@velaw.com
   3    VINSON & ELKINS L.L.P.
        2001 Ross Avenue, Suite 3900
   4    Dallas, TX 75201-2975
   5    Telephone: 214.220.7700
        Fax: 214.220.7716
   6
        Abigail Lubow (CA SBN: 314396)
   7     alubow@velaw.com
   8    VINSON & ELKINS L.L.P.
        555 Mission Street, Suite 2000
   9    San Francisco, CA 94105
        Telephone: 415.979.6900
  10    Fax: 415.651.8786
  11    Bruce L. Ishimatsu (CA SBN 86145)
  12      bruce@ishimatsulaw.com
        ISHIMATSU LAW GROUP, P.C.
  13    4712 Admiralty Way, No. 1012
        Marina del Rey, CA 90292
  14    Telephone: 310.200.4060
  15    Fax: 310.496.1540

  16    Attorneys for Petitioner Japan Display Inc.
  17                       UNITED STATES DISTRICT COURT

  18                      CENTRAL DISTRICT OF CALIFORNIA

  19
        In re: Application Pursuant to 28      Case No. 2:21-mc-00374-CAS-MAAx
  20    U.S.C. § 1782 of Japan Display Inc.,
                                               JAPAN DISPLAY INC.’S NOTICE
  21                       Petitioner,         OF MOTION AND MOTION FOR
  22                                           AN ORDER TO SHOW CAUSE
              v.
                                               WHY TIANMA AMERICA, INC.
  23
        Tianma America, Inc.                   SHOULD NOT BE HELD IN
  24                                           CONTEMPT
                           Respondent.
  25
                                               Hon. Judge Maria Audero
  26                                           Hearing Date: September 14, 2021
                                               Location: Courtroom 690, 6th Floor
  27
                                               Ex Parte § 1782 Appl.: March 18, 2021
  28
Case 2:21-mc-00374-CAS-MAA Document 19 Filed 08/09/21 Page 2 of 7 Page ID #:491



   1         TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD
   2         NOTICE IS HEREBY GIVEN THAT on September 14, 2021, or as soon
   3   thereafter as this matter may be heard in Courtroom 690, Sixth Floor of the above-
   4   entitled court, located at 255 E. Temple St., Los Angeles, CA 90012, Petitioner Japan
   5   Display Inc. (“JDI”) will and hereby does move the Court to order the following:
   6         (1)   Tianma America, Inc. (“TMA”) has waived all objections to JDI’s
   7   subpoena;
   8         (2) TMA must produce documents responsive to JDI’s subpoena without
   9   objections within 20 days of the Court’s order; and
  10         (3) Under Rule 45(g), TMA must show cause why a contempt citation should
  11   not be issued against it.
  12         This motion is made following the required conference of counsel, which took
  13   place on May 10, 2021, and May 20, 2021, via teleconference and thereafter via email
  14   exchanges and request for Informal Telephonic Discovery Conference, and the
  15   Informal Discovery Conference, recognized by the Court as sufficient to satisfy the
  16   parties’ pre-motion meet-and-confer obligations. This motion is based upon this
  17   Notice of Motion, the following memorandum of points and authorities, the
  18   declaration of Eric Klein and accompanying exhibits, the pleadings on file herein,
  19   and any other material the Court deems appropriate for consideration.
  20
       Dated: August 9, 2021           /s/ Bruce L. Ishimatsu
  21                                   By: Bruce L. Ishimatsu
                                              Eric J. Klein (pro hac vice)
  22
                                              Jeffrey R. Swigart (pro hac vice)
  23                                          Abigail Lubow (CA SBN: 314396)
                                       Attorneys for Petitioner Japan Display Inc.
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Case 2:21-mc-00374-CAS-MAA Document 19 Filed 08/09/21 Page 3 of 7 Page ID #:492



   1   I.    INTRODUCTION
   2         Japan Display Inc. (“JDI”) hereby applies for an order to show cause why
   3   Tianma America, Inc. (“TMA”) should not be held in civil contempt for failing to
   4   produce documents in accordance with the subpoena served on April 7, 2021
   5   (“Subpoena”), ECF No. 13, which was authorized by the Court’s Order granting
   6   JDI’s application for discovery under 28 U.S.C. § 1782. See ECF No. 12.
   7         TMA justifies its non-compliance by providing an objection, which nullifies
   8   the scope of the Subpoena, but this objection was untimely and therefore waived.
   9   JDI respectfully requests that the Court grant its (1) motion for an order to show cause
  10   why a contempt citation should not issue and (2) request for hearing date.
  11   II.   BACKGROUND
  12         JDI petitioned this Court under 28 U.S.C. § 1782 to take discovery of TMA
  13   for use in four patent litigation proceedings that it filed against Tianma
  14   Microelectronics Co. Ltd. (“Tianma”) in the Beijing Intellectual Property Court in
  15   China (“Chinese Proceedings”). ECF No. 1 (“§ 1782 Appl.”). On April 5, 2021, the
  16   Court granted JDI’s § 1782 application and authorized service of the Proposed
  17   Subpoena. ECF No. 12 (“Order”). On April 7, 2021, JDI served the Subpoena on
  18   TMA. ECF No. 13.
  19         Under Federal Rule of Civil Procedure 45(d)(2)(B), a person may serve
  20   objections to producing document “before the earlier of the time specified for
  21   compliance or 14 days after the subpoena is served.” The Subpoena requested
  22   documents by April 16, 2021, which is earlier than 14 days after the Subpoena was
  23   served. On April 30—two weeks after the deadline to object—TMA served untimely
  24   objections, which TMA now relies on to avoid complying with the Subpoena.

  25         JDI attempted to address TMA’s noncompliance through the procedures

  26   outlined under L.R. 37 and the Court’s rules regarding discovery disputes. But at the

  27   parties’ Informal Discovery Conference held on June 3, 2021, the Court indicated

  28   that if JDI believed TMA’s objections were waived, the proper mechanism to address

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Case 2:21-mc-00374-CAS-MAA Document 19 Filed 08/09/21 Page 4 of 7 Page ID #:493



   1   the issue would be a motion to for contempt rather than a motion to compel.
   2   Accordingly, this motion is being filed consistent with the Court’s direction. In
   3   addition, to resolve the matter more efficiently, JDI files a motion to compel
   4   concurrently with the instant motion.1
   5   III.   ARGUMENT
   6          Federal Rule of Civil Procedure 45(g) states:
   7          CONTEMPT. The court for the district where compliance is required
   8          . . . may hold in contempt a person who, having been served, fails
              without adequate excuse to obey the subpoena or an order related to it.
   9   “Contempt proceedings are instituted by the issuance of an Order to Show Cause why
  10   a contempt citation should not issue and a notice of a date for the hearing.” Alcalde
  11   v. NAC Real Estate Investments & Assignments, Inc., 580 F. Supp. 2d 969, 971 (C.D.
  12   Cal. 2008), citing Schwarzer, Tashima & Wagstaffe, Federal Civil Procedure Before
  13   Trial at P 11:2316. “In a civil contempt action, '[t]he moving party has the burden of
  14   showing by clear and convincing evidence that the contemnors violated a specific
  15   and definite order of the court. The burden then shifts to the contemnors to
  16   demonstrate why they were unable to comply.’” Alcalde, 580 F. Supp. 2d at 971,
  17   citing Federal Trade Comm’n v. Enforma Natural Prods., Inc., 362 F.3d 1204, 1211
  18   (9th Cir. 2004).
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         In its concurrent motion to compel, JDI argues that TMA should be compelled to
  21   respond to the Subpoena without objections because these objections were waived as
       untimely based on case law showing “waiver” being considered on a motion to
  22   compel. See, e.g., Interior Elec. Inc. Nevada v. Beverly, No. 5:20-MC-24-JGB
  23   (SPX), 2020 WL 8457486, at *2 (C.D. Cal. Dec. 7, 2020) (granting motion to compel
       where “respondents have waived any grounds for objections” and citing Richmark
  24   Corp. v. Timber Falling Consultants, 959 F.2d 1468, 1473 (9th Cir. 1992) (“It is well
  25   established that a failure to object to discovery requests within the time required
       constitutes a waiver of any objection.”)); Poturich v. Allstate Ins. Co., No. 5:15-0081-
  26   GW-KKx, 2015 WL 12766048, at *2 (C.D. Cal. Aug. 11, 2015) (ordering
  27   compliance with Rule 45 and production of documents without objections after
       objections had been waived). In the end, JDI seeks for TMA to be compelled to
  28   comply with the Subpoena under either motion.
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Case 2:21-mc-00374-CAS-MAA Document 19 Filed 08/09/21 Page 5 of 7 Page ID #:494



   1         TMA refuses to comply the Subpoena based on an objection to the scope the
   2   requests; however, this objection was waived as untimely. TMA admits that its
   3   objection was untimely. In the parties’ request for an informal discovery conference,
   4   TMA stated that “[r]egarding timeliness, on April 19, TMA informed JDI that it
   5   would respond by the end of the month.” Decl. of Eric J. Klein in support of JDI’s
   6   Motion to Compel (“Klein Decl.”), Ex. A (IDC Request) (emphasis added). But
   7   TMA’s April 19 email was after the deadline for compliance on April 16, 2021, and
   8   therefore any objections made thereafter were already waived. See id.; see Richmark
   9   Corp. v. Timber Falling Consultants, 959 F.2d 1468, 1473 (9th Cir. 1992) (“It is well
  10   established that a failure to object to discovery requests within the time required
  11   constitutes a waiver of any objection.”); McCoy v. Southwest Airlines Co., Inc., 211
  12   F.R.D. 381, 385 (C.D. Cal. 2002) (A “nonparty's failure to timely make objections to
  13   a Rule 45 subpoena duces tecum generally requires the court to find that any
  14   objection, including attorney-client privilege, have been waived.”).
  15         TMA’s failure to comply with the Subpoena is made even more egregious by
  16   the fact that TMA told JDI that it “expect[ed] to produce documents by the end of
  17   the month.” Klein Decl., Ex. B (Email Thread) (emphasis added). In its statement
  18   to the Court, TMA rephrased this representation to say only that TMA “would
  19   respond by the end of the month,” and faults JDI for not objecting sooner. Id., Ex.
  20   A (IDC Request) (emphasis added). JDI was mindful of the Court’s instruction that
  21   it should “take reasonable steps to avoid imposing undue burden or expense on a
  22   person subject to the subpoena,” ECF No. 12 at 9 (Order), and, therefore, JDI did
  23   not immediately demand compliance. It has become clear now that TMA used the
  24   additional time to craft a way to avoid production rather than to prepare any

  25   documents. TMA improperly twists JDI’s reasonable accommodations of TMA’s

  26   request (with the expectation that the accommodation would soon lead to documents

  27   being produced), into an agreement to abide by TMA’s untimely objections. Such is

  28   not the case.

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Case 2:21-mc-00374-CAS-MAA Document 19 Filed 08/09/21 Page 6 of 7 Page ID #:495



   1         Finally, TMA contends that the delay in asserting its objections “was necessary
   2   for TMA to investigate JDI’s allegations regarding the China cases.” Klein Decl.,
   3   Ex. A. To the extent any delay was necessitated, it was due to TMA’s own lack of
   4   diligence. JDI asked TMA’s counsel the day after the Court granted JDI’s § 1782
   5   application if it would accept service of the Subpoena. See Klein Decl., Ex. C (April
   6   6 Email from Jeffrey Swigart to Aidan Skoyles). TMA’s counsel did not respond.
   7   JDI proceeded to serve the Subpoena on TMA on April 7, 2021, and provided TMA’s
   8   counsel proof of service on April 8, 2021. Id. (April 8 Email from Jeffrey Swigart to
   9   Aidan Skoyles), see ECF No. 13. JDI followed up again on April 9, regarding
  10   whether TMA’s counsel would be providing representation. Klein Decl., Ex. C
  11   (April 9 Email from Jeffrey Swigart to Aidan Skoyles). TMA’s counsel did not
  12   respond. Only after Eric Klein contacted TMA’s counsel by phone did TMA finally
  13   engage with JDI regarding the Subpoena, which was one week after JDI’s initial
  14   communication regarding the Subpoena. See id., ¶ 8, see also id., Ex. C (April 13
  15   Email from Aidan Skoyles to Jeffrey Swigart). Accordingly, TMA’s untimeliness is
  16   the result of its own actions.
  17   IV.   CONCLUSION
  18         For these reasons, JDI respectfully request that its motion for an order to show
  19   cause why a contempt citation should not issue and request for hearing date should
  20   be granted.
  21   Dated: August 9, 2021            /s/ Bruce L. Ishimatsu
  22                                    By: Bruce L. Ishimatsu
                                               Eric J. Klein (pro hac vice)
  23
                                               Jeffrey R. Swigart (pro hac vice)
  24                                           Abigail Lubow (CA SBN: 314396)
                                        Attorneys for Petitioner Japan Display Inc.
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Case 2:21-mc-00374-CAS-MAA Document 19 Filed 08/09/21 Page 7 of 7 Page ID #:496



   1                            CERTIFICATE OF SERVICE

   2         I hereby certify that on the 9th day of August, 2021, a true and correct copy of

   3   the above and foregoing document was served on all counsel of record via the Court’s

   4   CM/ECF system in accordance with the Federal Rules of Civil Procedure.

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                                       /s/ Bruce I. Ishimatsu
   6                                   Bruce I. Ishimatsu
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